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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

    WHOLE WOMAN’S HEALTH, et al.,               §
                                                §
                          Plaintiffs,           §
    v.                                          §            Cause No. 1:21-cv-00616-RP
                                                §
    AUSTIN REEVE JACKSON, et al.,               §
                                                §
                         Defendants.            §


         STATE AGENCY DEFENDANTS’ RULE 12(b)(1) MOTION TO DISMISS


           The State Agency Defendants 1 file this Motion to Dismiss pursuant to Federal

Rule of Civil Procedure 12(b)(1). This Court should dismiss Plaintiffs’ claims against

the State Agency Defendants for lack of subject matter jurisdiction.

                                        I NTRODUCTION

           Plaintiffs are asking a federal district court to preemptively issue an advisory

opinion on the constitutionality of a new Texas statute, without any live case or

controversy before the Court. See Act of May 19, 2021, 87th Leg., R.S., S.B. 8,

effective Sept. 1, 2021 (“S.B. 8”). Even though S.B. 8 expressly prohibits state actors

from enforcing its provisions, Plaintiffs seek declaratory and injunctive relief against

a cadre of state executive officers: the Executive Directors of the Texas Medical



1     Defendants Stephen Brint Carlton, Executive Director of the Texas Medical
Board; Katherine A. Thomas, Executive Director of the Texas Board of Nursing;
Cecile Erwin Young, Executive Commissioner of the Texas Health and Human
Services Commission; Allison Vordenbaumen Benz, Executive Director of the Texas
Board of Pharmacy; and Ken Paxton, Attorney General of Texas. Plaintiffs have sued
the State Agency Defendants in their official capacities.
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Board (“TMB”), Texas Board of Nursing, and Texas Board of Pharmacy, as well as

the Commissioner of the Texas Health and Human Services Commission (“HHSC”)

and the Attorney General (collectively, the “State Agency Defendants”). Plaintiffs’

claims against the State Agency Defendants fail for lack of jurisdiction because

(1) they are barred by sovereign immunity and (2) Plaintiffs do not have standing.

       First, Plaintiffs’ claims against the State Agency Defendants are barred by

sovereign immunity. “Although a court can enjoin state officials from enforcing

statutes [found to violate the Constitution], such an injunction must be directed to

those who have the authority to enforce those statutes.” Mi Familia Vota v. Abbott,

977 F.3d 461, 468 (5th Cir. 2020). The State Agency Defendants have no such

authority. Indeed, they are prohibited by law from enforcing S.B. 8. That means this

“is essentially a suit against the State,” id. at 467, and it is thus barred by sovereign

immunity. See City of Austin v. Paxton, 943 F.3d 993, 997 (5th Cir. 2019). Because

this Court lacks jurisdiction, it is “powerless to act except to say that [it] cannot act.”

Okpalobi v. Foster, 244 F.3d 405, 409 (5th Cir. 2001) (en banc).

       Second, Plaintiffs lack standing because there is no case or controversy

between Plaintiffs and the State Agency Defendants. Plaintiffs have not plausibly

alleged they face an “actual or imminent” injury from S.B. 8. Clapper v. Amnesty Int’l

USA, 568 U.S. 398, 408 (2013). Further, Plaintiffs fail to establish standing under

the theories of organizational or third-party standing. Thus, Plaintiffs’ claims

independently fail for lack of standing.




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                                  B ACKGROUND

      In enacting S.B. 8, the Texas Legislature found, among other things, that “to

make an informed choice about whether to continue her pregnancy, [a] pregnant

woman has a compelling interest in knowing the likelihood of her unborn child

surviving to full-term birth based on the presence of cardiac activity.” S.B. 8 § 3 (to

be codified at Tex. Health & Safety Code § 171.202). Accordingly, the statute

requires a physician to determine, using a method that is “consistent with the

physician’s good faith and reasonable understanding of standard medical practice,”

“whether the woman’s unborn child has a detectable fetal heartbeat.” S.B. 8 § 3 (to

be codified at Tex. Health & Safety Code § 171.203). It further prohibits abortion

after a fetal heartbeat is detected, unless that would constitute an undue burden on

a woman seeking an abortion. See S.B. 8 § 3 (to be codified at Tex. Health & Safety

Code §§ 171.204, 171.209).

      Importantly, S.B. 8 expressly prohibits state executive and administrative

officers from enforcing its requirements: “No enforcement of this subchapter . . . may

be taken or threatened by this state . . . or an executive or administrative officer or

employee of this state . . . .” S.B. 8 § 3 (to be codified at Tex. Health & Safety Code

§ 171.207(a)). Instead, S.B. 8’s requirements are enforceable exclusively through the

private civil action created under the statute. See S.B. 8 § 3 (to be codified at Tex.

Health & Safety Code § 171.208(a)).

      Plaintiffs are various abortion clinics and abortion doctors, Compl. ¶¶ 24–35

(collectively “Abortion Providers”), as well as other organizations that advocate for


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abortions and two individuals who allegedly provide spiritual care and counseling,

Compl. ¶¶ 37–46 (“Abortion Advocates”). The Abortion Providers allege S.B. 8 harms

them by prohibiting “the bulk of ” the abortions they perform, Compl. ¶ 102, or, if

they continue to perform such abortions, by exposing them to private lawsuits,

Compl. ¶ 103. The Abortion Advocates allege they could likewise face private

lawsuits and liability for aiding and abetting abortions prohibited by S.B. 8 and that

they will have to shift resources if the abortion providers stop performing prohibited

abortions. Compl. ¶¶ 111–13.

      In addition to the State Agency Defendants (listed above), Plaintiffs have also

sued a state district judge, a state district clerk, and a private citizen. This Motion

to Dismiss is filed jointly by the State Agency Defendants. Plaintiffs recognize that

these official heads of various state agencies lack authority to enforce the provisions

of S.B. 8. See Compl. ¶¶ 76, 107. Nevertheless, Plaintiffs allege they are proper

defendants because Plaintiffs believe these agencies might seek to enforce S.B. 8

against Plaintiffs through their general authority to enforce various health-related

laws and regulations. See Compl. ¶¶ 51–55, 107. As explained below, Plaintiffs’

contingent speculations fail to establish federal jurisdiction against the State Agency

Defendants.

                         A RGUMENT & A UTHORITIES

I.    Sovereign immunity bars Plaintiffs’ claims against the State Agency
      Defendants.

      Sovereign immunity generally bars claims against the State and state officials

in their official capacities. “The only way to bring an official-capacity claim against

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an officer of the State is to do so under the equitable cause of action recognized in Ex

parte Young.” Freedom From Religion Found., Inc. v. Mack, No. 21-20279, 2021 WL

2887861, at *4 (5th Cir. July 9, 2021). 2 Ex parte Young “is a legal fiction that allows

private parties to bring ‘suits for injunctive or declaratory relief against individual

state officials acting in violation of federal law.’” City of Austin, 943 F.3d at 997

(quoting Raj v. La. State Univ., 714 F.3d 322, 328 (5th Cir. 2013)).

      “[A]n official-capacity equitable claim is cognizable under Ex parte Young only

if . . . the defendant state officer bears a sufficiently close connection to the unlawful

conduct that a district court can meaningfully redress that injury with an injunction

against that officer.” Freedom from Religion Found., 2021 WL 2887861, at *4. To sue

a state official under Ex parte Young, the plaintiff must show the defendant official

has both “the particular duty to enforce the statute in question and a demonstrated

willingness to exercise that duty.” Morris v. Livingston, 739 F.3d 740, 746 (5th Cir.

2014); see also Okpalobi, 244 F.3d at 421 (en banc) (plurality). Plaintiffs did not and

cannot make either showing. The State Agency Defendants lack authority to enforce

S.B. 8. And even if they could arguably do so tangentially through some sort of

administrative action, Plaintiffs completely fail to allege how any State Agency

Defendant has demonstrated any willingness to do so.




2     Plaintiffs cite only 42 U.S.C. § 1983, making no mention of Ex parte Young’s
equitable cause of action. Even assuming Plaintiffs could cure this pleading defect,
however, Ex parte Young does not apply to their claims against the State Agency
Defendants.
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       A.     The State Agency Defendants have no “particular duty” to
              enforce S.B. 8.

       Plaintiffs cannot overcome sovereign immunity for the simple reason that S.B.

8 explicitly prohibits enforcement by the State Agency Defendants: “No

enforcement of this subchapter . . . may be taken or threatened by this state . . . or

an executive or administrative officer or employee of this state . . . .” S.B. 8 § 3 (to be

codified at Tex. Health & Safety Code § 171.207(a)); see also id. § 6 (to be codified at

Tex. Health & Safety Code § 171.005). Despite this plain statutory prohibition

against state enforcement, Plaintiffs allege that relief against the State Agency

Defendants is nevertheless proper because they have authority to enforce various

health-related laws and regulations that Plaintiffs allege “could be triggered by a

violation of S.B. 8.” Compl. ¶ 107. Plaintiffs’ creative attempt to establish federal

jurisdiction through such a speculative set of contingencies falls far short of Ex parte

Young’s requirement of a “particular duty to enforce the statute in question.” Morris,

739 F.3d at 746.

       It is not at all clear that S.B. 8’s express prohibition against state

administrative enforcement would permit state agencies to discipline or otherwise

engage in administrative proceedings against Plaintiffs under general health

enforcement laws where the underlying issue was an alleged violation of S.B. 8. That

is a novel question of state law. 3 Fortunately, it is unnecessary for this Court to opine



3     It is far from clear that Plaintiffs’ speculative theory of administrative
enforcement is correct. For example, “one of the three golden rules of statutory
construction” is that “a more specific statute will be given precedence over a more
general one.” See El Paso County v. Trump, 408 F. Supp. 3d 840, 857 (W.D. Tex. 2019)
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on it. The mere existence of a novel question of state administrative law that may or

may not permit a state agency to engage in administrative proceedings involving an

underlying alleged violation of S.B. 8 is so far from constituting a “particular duty”

of a state agency to enforce S.B. 8 as to require no further analysis. Unless and until

state law is both interpreted and applied to impose a “particular duty” on any of the

State Agency Defendants to enforce S.B. 8 via administrative enforcement actions,

there is no jurisdictional basis for this Court to consider Plaintiffs’ imaginative

claims. 4

       B.       Plaintiffs have failed to show a “demonstrated willingness” by
                the State Agency Defendants to enforce S.B. 8.

       Even if Plaintiffs could show a “particular duty” of the State Agency

Defendants to enforce S.B. 8 (which they cannot), their claims would still fail to




(quoting Nevada v. Dep’t of Energy, 400 F.3d 9, 16 (D.C. Cir. 2005)). Accordingly, S.B.
8’s specific prohibition on state enforcement may arguably override the State Agency
Defendants’ general authority to discipline licensees.
4      Even if the possibility of administrative enforcement were enough to support
an Ex parte Young injunction (or Article III standing, see infra section II.B.1), the
Court should abstain under Railroad Commission v. Pullman Co., 312 U.S. 496
(1941). The Supreme Court has instructed federal courts to abstain where an
antecedent question of state law would obviate the need to address a federal
constitutional question, id. at 500, or “significantly modify” the federal analysis, Lake
Carriers Ass’n v. MacMullan, 406 U.S. 498, 512 (1972); see also Palmer v. Jackson,
617 F.2d 424, 428 (5th Cir. 1980). If the State Agency Defendants lack the alleged
enforcement authority as a matter of state law, “the constitutional issue does not
arise.” Pullman, 312 U.S. at 501. Abstention is particularly appropriate because the
Supreme Court of Texas has never interpreted the scope of S.B. 8’s prohibition on
state enforcement. See Lake Carriers Ass’n, 406 U.S. at 511; Reetz v. Bozanich, 397
U.S. 82, 86 (1970). To avoid creating “needless friction with state policies,” id. at 500,
this Court should “decline to exercise jurisdiction altogether by . . . dismissing”
Plaintiffs’ claims against the State Agency Defendants, Quackenbush v. Allstate Ins.
Co., 517 U.S. 706, 721 (1996).
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satisfy Ex parte Young’s requirements because Plaintiffs have completely failed to

allege or show a “demonstrated willingness” of any State Agency Defendant to

enforce S.B. 8. See Morris, 739 F.3d at 746. Even where a defendant official “has the

authority to enforce” a law, a plaintiff must further allege that the official “is likely

to” enforce the law in a way that would “constrain” the plaintiff. City of Austin, 943

F.3d at 1001–02.

      Plaintiffs simply cannot make such a showing. Indeed, their Complaint does

not even attempt to do so. At most, Plaintiffs allege that “other statutes and

regulations . . . could be triggered by a violation of S.B. 8.” Compl. ¶ 107 (emphasis

added). That is nowhere near a plausible allegation that any of the specific State

Agency Defendants is “likely” to enforce S.B. 8 in any way. 5 Plaintiffs’ allegations do

not show the type of “ongoing” constitutional violation that is generally required to

invoke Ex parte Young. See, e.g., Fontenot v. McCraw, 777 F.3d 741, 752 (5th Cir.

2015) (explaining that the Ex parte Young doctrine applies where a plaintiff “alleges

an ongoing violation of federal law and seeks relief properly characterized as

prospective.”).




5      Contrary to Plaintiffs’ assertions, the State Agency Defendants are not
obligated to discipline for violations of state law. For example, TMB “may”—not
“must,” contra Compl. ¶ 51—“impose an administrative penalty against [a licensed
physician] who violates” certain governing laws. Tex. Occ. Code § 165.001; see also id.
§ 165.101 (attorney general may institute an action for civil penalties against a
licensed physician for certain violations); id. § 301.501 (Board of Nursing “may
impose an administrative penalty”); id. § 566.001(1) (same as to Board of Pharmacy);
Tex. Health & Safety Code § 245.017 (HHSC “may assess an administrative
penalty”).
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II.   Plaintiffs’ claims against the State Agency Defendants alternatively
      fail for lack of standing.

      While sovereign immunity completely bars Plaintiffs’ claims against the State

Agency Defendants, those claims also fail for lack of Article III standing. Plaintiffs

cannot show the “irreducible constitutional minimum of standing”: injury in fact,

causation, and redressability. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992).

Plaintiffs bear the burden to “demonstrate all the elements of standing for each

provision they seek to challenge.” In re Gee, 941 F.3d 153, 162 & n.4 (5th Cir. 2019)

(per curiam). And because Plaintiffs seek prospective relief, they must establish an

“imminent” future injury. Lujan, 504 U.S. at 564. Plaintiffs cannot meet these

requirements.

      A.     Each Plaintiff must establish standing as to each provision
             challenged.

      Article III’s case-or-controversy requirement must be satisfied for each

provision challenged and each remedy sought. See Town of Chester v. Laroe Estates,

Inc., 137 S. Ct. 1645, 1651 (2017) (“For all relief sought, there must be a litigant with

standing[.]”); Lewis v. Casey, 518 U.S. 343, 358 n.6 (1996) (rejecting the idea that

“the right to complain of one administrative deficiency automatically confer[s] the

right to complain of all administrative deficiencies”); In re Gee, 941 F.3d at 162 &

n.4. The Court’s “determination of standing is both plaintiff- and provision-specific”

because the conclusion “[t]hat one plaintiff has standing to assert a particular claim

does not mean that all of them do.” Fednav, Ltd. v. Chester, 547 F.3d 607, 614 (6th

Cir. 2008); see also Pagan v. Calderon, 448 F.3d 16, 26 (1st Cir. 2006).



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      A “district court . . . lack[s] authority to enjoin enforcement of [a challenged

law] as to anyone other than the named plaintiffs.” In re Abbott, 954 F.3d 772, 786

n.19 (5th Cir. 2020), vacated as moot sub nom. Planned Parenthood Center for Choice

v. Abbott, 141 S. Ct. 1261 (2021). That rule would be meaningless if anyone could be

brought within the scope of relief by simply naming them as plaintiffs without

establishing their individual standing.

      Moreover, even if Article III did not require a particularized standing

analysis, it would still be appropriate here. Although one plaintiff with standing is

enough for purposes of appeal, “nothing in the cases addressing this principle

suggests that a court must permit a plaintiff that lacks standing to remain in a case

whenever it determines that a co-plaintiff has standing.” Thiebaut v. Colo. Springs

Utilities, 455 F. App’x 795, 802 (10th Cir. 2011). Here, multiple factors weigh in favor

of fully considering standing: (1) any other approach “would not fully address [this]

motion,” (2) failing to decide standing “would leave at least some of the plaintiffs in

a state of legal limbo,” (3) “if one group of plaintiffs lack[s] standing, defendants

would at least be entitled to partial dismissal,” and (4) “judicial economy” supports

streamlining the case. We Are Am./ Somos Am., Coal. of Ariz. v. Maricopa Cty. Bd.

of Supervisors, 809 F. Supp. 2d 1084, 1092-93 (D. Ariz. 2011).

      B.     Plaintiffs’ alleged injuries are not cognizable under Article III.

      Plaintiffs generally proffer three injuries they contend support Article III

standing. None suffices. First, Plaintiffs speculate that even though S.B. 8 prohibits

government enforcement, the State Agency Defendants “could” take other

disciplinary actions. As addressed above, such speculation is, to say the least, legally
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conjectural and factually premature. This theory also relies on an unsettled question

of Texas law that this Court should abstain from addressing in the first instance.

See supra n.4. Second, Plaintiffs allege that the possibility of fee shifting causes them

an injury in fact. That flatly fails Article III’s requirement that future injury be

imminent. Finally, Plaintiffs allege that they will be injured by private lawsuits

under S.B. 8. Of course, even if such an alleged injury could otherwise satisfy Article

III (which the State Agency Defendants deny), it is neither traceable to the State

Agency Defendants nor redressable through an injunction against them.

             1.     Plaintiffs do not plausibly allege an imminent threat of
                    any administrative enforcement by the State Agency
                    Defendants.

      Plaintiffs first allege they have standing to sue the State Agency Defendants

on the theory that they have authority to enforce “other statutes and regulations”

that “could be triggered by a violation of S.B. 8.” Compl. ¶ 107. As already discussed,

this theory is purely speculative, with no clear law or facts to render it anything

more than personal conjecture at this time. See supra sections I.A–B. To support

Article III standing, a future injury must be “certainly impending.” Clapper, 568 U.S.

at 410. It must be “actual or imminent rather than conjectural or hypothetical.”

Lujan, 504 U.S. at 560. However, Plaintiffs have not plausibly alleged that any

administrative enforcement of S.B. 8 by the State Agency Defendants is actual

rather than merely conjectural, and they certainly have failed to show it is anywhere

close to imminent. The most Plaintiffs allege is that such injury “could” occur. Compl.

¶ 107. Such a “theoretical possibilit[y]” is legally insufficient to establish standing.

In re Gee, 941 F.3d at 164.
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      Indeed, the theoretical possibility of administrative enforcement rests on the

sort of “chain of contingencies,” Clapper, 568 U.S. at 410, that cannot satisfy Article

III. To suffer an injury traceable to TMB Director Carlton, for example, a licensed

physician would first have to commit a prohibited abortion; then a citizen would have

to report the physician to TMB; then TMB would have to decide whether to

investigate the allegations; then, if TMB decided to investigate, it would have to

decide whether to impose any disciplinary measures on that physician. 6 Any threat

of disciplinary proceedings brought by the other State Agency Defendants against

licensed nurses, pharmacists, or abortion clinics, respectively, is just as conjectural.

Such a lengthy, fragile “chain of contingencies,” Clapper, 568 U.S. at 410, cannot

bear Plaintiffs’ legal burden to establish an actual or imminent injury in fact.

      These observations also mean that Plaintiffs’ claims simultaneously fail for

lack of ripeness, a doctrine related to standing. See Texas v. United States, 497 F.3d

491, 496 (5th Cir. 2007) (noting that “the [standing and ripeness] doctrines often

overlap in practice, particularly in an examination of whether a plaintiff has suffered

a concrete injury”). “Ripeness is a component of subject matter jurisdiction, because

a court has no power to decide disputes that are not yet justiciable.” Lopez v. City of

Houston, 617 F.3d 336, 341 (5th Cir. 2010). “If the purported injury is ‘contingent

[on] future events that may not occur as anticipated, or indeed may not occur at all,’

the claim is not ripe for adjudication.” Id. at 342 (alteration in original) (quoting



6     Of course, any discipline imposed by TMB would be subject to further review
as provided by the applicable statutes and regulations governing TMB disciplinary
proceedings.
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Thomas v. Union Carbide Agric. Prods. Co., 473 U.S. 568, 580–81 (1985)). Because

Plaintiffs’ purported injury is contingent on multiple future events, some or all of

which may never occur, their claim is not ripe.

      Further, this conjectural theory of standing does not even apply on its face to

the Abortion Advocates. Those Plaintiffs do not allege to hold any licenses from the

State Agency Defendants, nor do they allege how any of the State Agency Defendants

could possibly initiate any administrative proceedings against them. Accordingly,

the Abortion Advocates cannot utilize Plaintiffs’ specter-of-administrative-

enforcement theory to show their own individual standing to sue the State Agency

Defendants.

              2.    Fee-shifting provisions do not establish standing.

      Second, Plaintiffs allege they are injured by S.B. 8’s attorney’s fees provisions

because they might have to pay attorney’s fees based on unsuccessful challenges to

Texas’s abortion regulations. Compl. ¶¶ 51–55. At most, that could provide standing

to challenge S.B. 8’s attorney’s fees provisions, but not the entirety of S.B. 8. See In

re Gee, 941 F.3d at 160–61. But, as with Plaintiffs’ first theory, this alleged injury

does not suffice because it is not “actual or imminent rather than conjectural or

hypothetical.” Lujan, 504 U.S. at 560.

      Plaintiffs have not plausibly alleged an imminent future injury arising from

S.B. 8’s attorney’s fees provision. No State Agency Defendant has sought an award

of attorney’s fees under S.B. 8’s provisions, and the theoretical possibility one of them

might do so someday does not suffice. The Supreme Court has “repeatedly reiterated

that threatened injury must be certainly impending to constitute injury in fact, and
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that [a]llegations of possible future injury are not sufficient.” Clapper, 568 U.S. at

409 (internal quotation marks omitted).

      Of course, to the extent Plaintiffs seek to base standing on the possibility of

an attorney’s fees award in this very case, such an argument fails. See Vt. Agency of

Nat. Res. v. U.S. ex rel. Stevens, 529 U.S. 765, 773 (2000) (“[A]n interest that is

merely a ‘byproduct’ of the suit itself cannot give rise to a cognizable injury in fact

for Article III standing purposes.”); Steel Co. v. Citizens for a Better Env’t, 523 U.S.

83, 107 (1998) (“[A] plaintiff cannot achieve standing to litigate a substantive issue

by bringing suit for the cost of bringing suit.”); Diamond v. Charles, 476 U.S. 54, 69–

71 (1986) (assessment of attorney’s fees against a party does not confer standing to

pursue the action on appeal).

             3.     Possible lawsuits by private parties do not create standing
                    to sue the State Agency Defendants.

      Plaintiffs repeatedly emphasize the possibility that private citizens may sue

them under S.B. 8’s private cause of action. See, e.g., Compl. ¶¶ 8, 104, 111–12.

However, such an allegation cannot establish standing against the State Agency

Defendants. Aside from the fact that Plaintiffs fail to plausibly show how any such

lawsuits are imminent, this argument also fails to satisfy the constitutional

requirements of traceability and redressability. Article III requires an injury to be

“fairly . . . trace[able] to the challenged action of the defendant, and not . . . th[e]

result [of] the independent action of some third party not before the court.” Lujan,

504 U.S. at 560. Plaintiffs allege no causal link between private lawsuits that may

be filed by private citizens under S.B. 8 and any of the State Agency Defendants.


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Indeed, such a causal connection is difficult to imagine, given S.B. 8’s strict

prohibition against government enforcement of S.B. 8’s requirements and its express

bar against government intervention in private lawsuits under S.B. 8. See S.B. 8 § 3

(to be codified at Tex. Health & Safety Code §§ 171.207(a), 171.208(h)). The

possibility of private lawsuits has no connection to the State Agency Defendants, and

therefore it cannot establish standing to sue them.

      C.     Plaintiffs’ organizational and third-party standing theories fail
             as a matter of law.

      Plaintiffs apparently believe that some of their number can show standing

based on the theories of organizational or third-party standing. They cannot.

             1.     The Abortion Advocates fail to establish organizational
                    standing based on diversion of resources.

      As already noted, the Abortion Advocates do not and cannot plausibly allege

how the State Agency Defendants could possibly take any administrative action

against them. The Abortion Advocates do not even allege that the State Agency

Defendants have the authority to regulate or discipline them. Consequently, the

Abortion Advocates apparently rely on the theory of organizational standing based

on alleged diversion of resources.

      An organization generally has two options to establish Article III standing:

associational standing, which is based on the standing of a member, or

organizational standing, which is based on an injury to the organization itself. See

NAACP v. City of Kyle, 626 F.3d 233, 237–38 (5th Cir. 2010). The Abortion Advocates




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do not attempt to show associational standing. 7 Rather, they rely solely on

organizational standing, which requires each Plaintiff to show injury, causation, and

redressability in its own right. See id.

      The Abortion Advocates rely on a diversion of resources theory for

organizational standing. Compl. ¶ 110. Though the diversion of resources can

constitute a requisite injury under certain circumstances, “[n]ot every diversion of

resources to counteract [a] defendant’s conduct . . . establishes an injury in fact.” City

of Kyle, 626 F.3d at 238. “The change in plans must still be in response to a

reasonably certain injury imposed by the challenged law.” Zimmerman v. City of

Austin, 881 F.3d 378, 390 (5th Cir. 2018). Speculation as to how abortion providers

may react to the change in the law—indeed, the Abortion Providers do not say how

they will react to S.B. 8—cannot support organizational standing.

      Even if it could, “an organizational plaintiff must explain how the activities it

undertakes in response to the defendant’s conduct differ from its ‘routine [ ]

activities,’ ” and must “identify ‘specific projects that [it] had to put on hold or

otherwise curtail in order to respond to’ the defendant’s conduct.” Def. Distributed v.

U.S. Dep’t of State, No. 1:15-cv-372, 2018 WL 3614221, at *4 (W.D. Tex. July 27,




7      Associational standing requires “members” within the meaning of Hunt v.
Washington State Apple Advertising Commission, 432 U.S. 333, 344 (1977). The
plaintiff organization must show it has members who “elect leadership, serve as the
organization’s leadership, and finance the organization’s activities, including the
case’s litigation costs.” Tex. Indigenous Council v. Simpkins, No. 5:11-cv-315, 2014
WL 252024, at *3 (W.D. Tex. Jan. 22, 2014); see also Ass’n for Retarded Citizens of
Dall. v. Dall. Cty. Mental Health & Mental Retardation Ctr. Bd. of Trustees, 19 F.3d
241, 244 (5th Cir. 1994). None of the Abortion Advocates make such allegations.
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2018) (quoting City of Kyle, 626 F.3d at 238). Plaintiffs cannot satisfy either

requirement.

       First, funding travel does not meaningfully differ from the organizations’

“day-to-day operations.” ACORN v. Fowler, 178 F.3d 350, 359 (5th Cir. 1999).

Providing “financial, practical, and logistical support” for women seeking abortions

is precisely what the Abortion Advocacy Organizations already do. Compl. ¶ 38 (“The

Afiya Center provides financial, practical, and emotional support for abortion

patients and advocates for abortion access.”); see also ¶¶ 37, 39–42. “Plaintiffs have

not explained how” their anticipated reactions “differ from [their] routine . . .

activities.” City of Kyle, 626 F.3d at 238.

       Second, the Abortion Advocacy Organizations “have not identified any specific

projects” they will have to “put on hold or otherwise curtail in order to respond to”

S.B. 8. Id. They have “only conjectured that the resources” they say they may have

to divert “could have been spent on other unspecified activities.” Id. at 239. That,

however, is legally insufficient to establish organizational standing. Def. Distributed,

2018 WL 3614221, at *4 (ruling that projects must be described with “sufficient

specificity to constitute an injury in fact”).

              2.     Plaintiffs lack third-party standing.

       There are two groups of Plaintiffs seeking to invoke third-party standing. Both

of them fail to do so.

       First, the Abortion Providers (excluding the two physicians) purport to bring

suit “on behalf of” their “physicians, nurses, [and] other staff.” Compl. ¶¶ 24-33. But

they have not pleaded why third-party standing is permissible. Ordinarily, a plaintiff
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“must assert his own legal rights and interests, and cannot rest his claim to relief on

the legal rights or interests of third parties.” Conn v. Gabbert, 526 U.S. 286, 293

(1999) (quoting Warth v. Seldin, 422 U.S. 490, 499 (1975)). A limited exception

applies when “the party asserting the right has a ‘close’ relationship with the person

who possesses the right” and “there is a ‘hindrance’ to the possessor’s ability to

protect his own interests.” Kowalski, 543 U.S. at 130.

      Even assuming a close relationship exists, the Abortion Providers have not

pleaded why their employees (physicians, nurses, and staff) are hindered from

bringing their own claims. Indeed, courts have rejected employers’ attempts to assert

third-party standing on behalf of their employees for this very reason. See, e.g., MD

II Entm’t, Inc. v. City of Dallas, 28 F.3d 492, 497 (5th Cir. 1994); ESI/Employee Sols.,

L.P. v. City of Dallas, 450 F. Supp. 3d 700, 717-18 (E.D. Tex. 2020); One Thousand

Friends of Iowa v. Mineta, 250 F. Supp. 2d 1064, 1068 (S.D. Iowa 2002). There is

simply no basis for the Abortion Providers to seek relief on behalf of an untold

number of individuals who are perfectly able to bring their own lawsuits. 8

      Second, the Abortion Advocates presume to have third-party standing to sue

on behalf of their clients. This is equally meritless. Giving financial or logistical

support to an unidentified person at some unidentified future date does not establish




8      No Plaintiff is alleged to be a nurse or pharmacist regulated by the Board of
Nursing or Board of Pharmacy. Thus, standing to sue those Defendants depends
entirely on third-party standing. Because the Abortion Providers lack standing to sue
on behalf of their employees—and because there is no allegation they employ
pharmacists in any event—the claims against Director Thomas and Director Benz
must be dismissed.
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the requisite “close relationship” required under the third-party standing doctrine.

Kowalski, 543 U.S. at 130, 134 (denying third-party standing for attorneys on behalf

of unknown, future clients). The circumstances in which the Supreme Court has

recognized a “close relationship” include the relationship between doctors and

patients, Singleton, 428 U.S. at 117; attorneys and existing clients, Caplin &

Drysdale, Chartered v. United States, 491 U.S. 617 (1989); U.S. Dep’t of Labor v.

Triplett, 494 U.S. 715 (1990); and family members, Sessions v. Morales-Santana, 137

S. Ct. 1678 (2017). In stark contrast, the Abortion Advocates have a transitory, non-

professional, non-familial relationship with women to whom they give financial

support for an abortion.

                             C ONCLUSION & P RAYER

      This Court lacks jurisdiction to grant any relief against the State Agency

Defendants because they are protected by sovereign immunity and because

Plaintiffs’ claims alternatively fail for lack of Article III standing. Accordingly, this

Court should dismiss Plaintiffs’ claims against the State Agency Defendants without

subjecting them to any further burdens of litigation.

      Of course, if Plaintiffs are concerned with the overall constitutionality of S.B.

8, they are certainly not without recourse. Texas courts are well-equipped to

adjudicate constitutional challenges to state laws. Plaintiffs have brazenly requested

this Court to tell all Texas courts how to decide the cases before them. This Court

should firmly decline to do so. After all, courts “do not, or should not, sally forth each

day looking for wrongs to right.” Greenlaw v. United States, 554 U.S. 237, 244 (2008).


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Rather, consistent with fundamental jurisdictional principles, they “wait for cases to

come to [them].” Id.; see also Valley Forge Christian Coll. v. Americans United for

Separation of Church & State, Inc., 454 U.S. 464, 489 (1982) (noting that the absence

of a party with standing to sue “is not a reason to find standing”). Simply put,

Plaintiffs’ fear of having to litigate their contentions in state court does not establish

federal jurisdiction.

       For all the foregoing reasons, the State Agency Defendants—Director Carlton,

Director Thomas, Commissioner Young, Director Benz, and Attorney General

Paxton—respectfully request this Court to dismiss all claims against them for lack

of jurisdiction.




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                              CERTIFICATE OF SERVICE

       I hereby certify that on August 4, 2021, a true and correct copy of this document
was electronically filed using the Court’s CM/ECF system, which will send
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